      Case 1:20-cr-00152-LJL Document 55
                                      54 Filed 01/13/21
                                               01/12/21 Page 1 of 1




                                             January 12, 2021

BY ECF                              REQUEST GRANTED.

Honorable Lewis J. Liman               1/13/2021
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

      Re:    United States v. George Lyons,
             20 Cr. 152 (LJL)

Dear Judge Liman:

       I write in response to this Court’s January 11 Order canceling Mr.
Lyons’ January 21 sentencing hearing and instructing the parties to submit a
letter by January 13 concerning the parties’ positions on whether sentencing
should be held remotely by video conference according to the CARES Act.
Because I will not be able to confer with Mr. Lyons until January 14, I hereby
request that the Court extend the parties’ response deadline to Friday,
January 15. The government consents to this request.

                                             Sincerely,

                                              /s/
                                             Clay H. Kaminsky
                                             Assistant Federal Defender
                                             Federal Defenders of New York
                                             (212) 417-8749

CC:   AUSA Benjamin Schrier
